JS 44 (Rev. 04/21)                 Case 2:23-cv-04135-TJS
                                                     CIVILDocument
                                                           COVER 1SHEET
                                                                    Filed 10/26/23 Page 1 of 12
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                        DEFENDANTS
         Jill Katz and Michael Katz                                                                      Panera Bread Company
   (b) County of Residence of First Listed Plaintiff             Philadelphia Co., PA                    County of Residence of First Listed Defendant              St. Louis Co., MO
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                    THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                               Attorneys (If Known)

         Thomas R. Kline, Esq. - Kline & Specter, P.C.                                                   Gregory T. Sturges, Esq. - Greenberg Traurig, LLP
         1525 Locust St., 9th Fl., Phila., PA 19102 - 215.772.1000                                       1717 Arch St., Ste. 400, Phila., PA 19103 - 215.988.7820
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                      (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government                 3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                      Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                     of Business In This State

  2    U.S. Government                 4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                  Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                   Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                      PERSONAL INJURY                  PERSONAL INJURY              625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                         310 Airplane                    365 Personal Injury -             of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                     315 Airplane Product                 Product Liability        690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument               Liability                  367 Health Care/                                                     INTELLECTUAL                    400 State Reapportionment
  150 Recovery of Overpayment        320 Assault, Libel &                Pharmaceutical                                                 PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment           Slander                        Personal Injury                                                820 Copyrights                    430 Banks and Banking
  151 Medicare Act                   330 Federal Employers’              Product Liability                                              830 Patent                        450 Commerce
  152 Recovery of Defaulted               Liability                  368 Asbestos Personal                                              835 Patent - Abbreviated          460 Deportation
       Student Loans                 340 Marine                          Injury Product                                                     New Drug Application          470 Racketeer Influenced and
       (Excludes Veterans)           345 Marine Product                  Liability                                                      840 Trademark                         Corrupt Organizations
  153 Recovery of Overpayment             Liability                 PERSONAL PROPERTY                       LABOR                       880 Defend Trade Secrets          480 Consumer Credit
      of Veteran’s Benefits          350 Motor Vehicle               370 Other Fraud               710 Fair Labor Standards                 Act of 2016                       (15 USC 1681 or 1692)
  160 Stockholders’ Suits            355 Motor Vehicle               371 Truth in Lending              Act                                                                485 Telephone Consumer
  190 Other Contract                     Product Liability           380 Other Personal            720 Labor/Management                  SOCIAL SECURITY                      Protection Act
  195 Contract Product Liability     360 Other Personal                  Property Damage               Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                          Injury                      385 Property Damage           740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                     362 Personal Injury -               Product Liability         751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                         Medical Malpractice                                           Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                    CIVIL RIGHTS                 PRISONER PETITIONS             790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation              440 Other Civil Rights          Habeas Corpus:                791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                    441 Voting                      463 Alien Detainee                Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment         442 Employment                  510 Motions to Vacate                                              870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                  443 Housing/                        Sentence                                                            or Defendant)                896 Arbitration
  245 Tort Product Liability             Accommodations              530 General                                                        871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property        445 Amer. w/Disabilities -      535 Death Penalty                 IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                         Employment                  Other:                        462 Naturalization Application                                             Agency Decision
                                     446 Amer. w/Disabilities -      540 Mandamus & Other          465 Other Immigration                                                  950 Constitutionality of
                                         Other                       550 Civil Rights                  Actions                                                                State Statutes
                                     448 Education                   555 Prison Condition
                                                                     560 Civil Detainee -
                                                                         Conditions of
                                                                         Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original             2 Removed from                     3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
    Proceeding             State Court                            Appellate Court               Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                            (specify)                 Transfer                          Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                       28 USC §§ 1336, 1441
VI. CAUSE OF ACTION Brief description of cause:
                                       Plaintiffs allege personal injury and wrongful death allegedly resulting from ingestion of a beverage.
VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                                                                           JURY DEMAND:           Yes       No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                       JUDGE                                                                DOCKET NUMBER
DATE                                                                 SIGNATURE OF ATTORNEY OF RECORD
Oct 26, 2023
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                           MAG. JUDGE
JS 44 Reverse (Rev. 04/21)   Case 2:23-cv-04135-TJS Document 1 Filed 10/26/23 Page 2 of 12
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statute.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
05/2023                         Case 2:23-cv-04135-TJS Document 1 Filed 10/26/23 Page 3 of 12
                                                           UNITED STATES DISTRICT COURT
                                                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                                                              DESIGNATION FORM
                              (to be used by counsel to indicate the category of the case for the purpose of assignment to the appropriate calendar)


    Address of Plaintiff:       23 Half Moon Isle, Jersey City, NJ 07305

                           3630 S. Geyer Rd., #100, St. Louis, MO 63127
    Address of Defendant:_______________________________________________________________________________________
                                                  Philadelphia, PA
    Place of Accident, Incident or Transaction:_______________________________________________________________________

      RELATED CASE IF ANY:
      Case Number:______________________ Judge:________________________________ Date Terminated____________________
      Civil cases are deemed related when Yes is answered to any of the following questions:
           1.    Is this case related to property included in an earlier numbered suit pending or within one year                                   Yes             No X
                 previously terminated action in this court?
           2.    Does this case involve the same issue of fact or grow out of the same transaction as a prior suit
                 Pending or within one year previously terminated action in this court?                                                             Yes             No X
           3.    Does this case involve the validity or infringement of a patent already in suit or any earlier
                 Numbered case pending or within one year previously terminated action of this court?                                               Yes             No     X
           4.    Is this case a second or successive habeas corpus, social security appeal, or pro se case filed
                 by the same individual?                                                                                                            Yes             No X
      I certify that, to my knowledge, the within case                 is / X is not related to any now pending or within one year previously terminated
      action in this court except as note above.
      DATE: October 26, 2023                   ____________________________________                                                200992
                                                                                                                               ________________________________
                                                      Attorney-at-Law (Must sign above)                                             Attorney I.D. # (if applicable)



      Civil (Place a √ in one category only)

           A.    Federal Question Cases:                                                                    B. Diversity Jurisdiction Cases:

                 1.  Indemnity Contract, Marine Contract, and All Other Contracts)          1. Insurance Contract and Other Contracts
                 2.  FELA                                                                   2. Airplane Personal Injury
                 3.  Jones Act-Personal Injury                                              3. Assault, Defamation
                 4.  Antitrust                                                              4. Marine Personal Injury
                 5.  Wage and Hour Class Action/Collective Action                           5. Motor Vehicle Personal Injury
                 6.  Patent                                                                 6. Other Personal Injury (Please specify):________________
                 7.  Copyright/Trademark                                                 X 7. Products Liability
                 8.  Employment                                                             8. All Other Diversity Cases: (Please specify)______________
                 9.  Labor-Management Relations                                               _____________________
                 10. Civil Rights
                 11. Habeas Corpus
                 12. Securities Cases
                 13. Social Security Review Cases
                 14. Qui Tam Cases
                 15. All Other Federal Question Cases. (Please specify):_____________________________



                                                                           ARBITRATION CERTIFICATION
                                                   (The effect of this certification is to remove the case from eligibility for arbitration)

           Gregory T. Sturges
      I, _________________________________, counsel of record or pro se plaintiff, do hereby certify:

                 X        Pursuant to Local Civil Rule 53.2 § 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action
                          case exceed the sum of $150,000.00 exclusive of interest and costs:

                          Relief other than monetary damages is sought.


              October 26, 2023
      DATE: ____________________________                              ______________________________________                                 200992
                                                                                                                                        __________________________________
                                                                      Attorney-at-Law (Sign here if applicable)                                Attorney ID # (if applicable)

      NOTE: A trial de novo will be a jury only if there has been compliance with F.R.C.P. 38.
             Case 2:23-cv-04135-TJS Document 1 Filed 10/26/23 Page 4 of 12




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JILL KATZ and MICHAEL KATZ, as
Administrators of the estate of SARAH              JURY TRIAL DEMANDED
KATZ, Deceased
23 Half Moon Isle
Jersey City, NJ 07305
                                                   No.:
                        Plaintiffs,

        v.

PANERA BREAD COMPANY
200 S. 40th Street
Philadelphia, PA 19104
  And
PANERA LLC
3630 S. Geyer Road, Suite 100
St. Louis, MO 63127
                        Defendants.

                                      NOTICE OF REMOVAL

        Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendants Panera Bread Company

(“PBC”) and Panera, LLC (“PLLC”) (collectively, “Defendants”), through undersigned counsel,

hereby remove the above-captioned case from the Court of Common Pleas for Philadelphia

County, Pennsylvania to the United States District Court for the Eastern District of Pennsylvania,

and state as follows:

                                        INTRODUCTION

        1.      On October 23, 2023, Plaintiffs Jill Katz and Michael Katz, as Administrators of

the estate of Sarah Katz, deceased (“Decedent”), (together, “Plaintiffs”) filed the Complaint

against Defendants in the Court of Common Pleas for Philadelphia County, Pennsylvania. The

case is styled as Jill Katz, et. al, v. Panera Bread Company, et. al, October Term 2023, No. 02242.
               Case 2:23-cv-04135-TJS Document 1 Filed 10/26/23 Page 5 of 12




          2.      As of the filing of this Notice of Removal, no one has served either PBC or PLLC

with the Complaint.

          3.      In the Complaint, Plaintiffs allege personal injuries and wrongful death resulting

from Decedent’s alleged purchase and ingestion of Panera Charged Lemonade from a Panera Store

located at 200 S. 40th Street, Philadelphia, PA 19104. See Compl., ¶¶ 79–136, attached as Exhibit

A.

          4.      Plaintiffs assert claims for strict product liability, negligence, misrepresentation,

and breach of express warranty. See id. Plaintiffs assert both wrongful death and survival claims.

See id.

          5.      PBC and PLLC deny they are liable to Plaintiffs under any theory and deny that

any alleged act or omission caused or contributed to Plaintiffs’ alleged damages or Decedent’s

alleged injuries or death.

          6.      Removal of this action is appropriate. This Court has diversity jurisdiction under

28 U.S.C. § 1332(a) because this action is between citizens of different states and the amount in

controversy exceeds $75,000.

                                   VENUE AND JURISDICTION

          7.      Venue is proper in this Court because this action is being removed from the state

court in which Plaintiffs filed their Complaint, the Court of Common Pleas for Philadelphia

County, Pennsylvania, which sits within the United States District Court for the Eastern District

of Pennsylvania. 28 U.S.C. §§ 118(a), 1441(a), and 1446(a).

          8.      Federal courts have original jurisdiction over “all civil actions where the matter in

controversy exceeds $75,000, exclusive of interest and costs, and is between . . . citizens of

different States.” 28 U.S.C. § 1332(a)(1).




                                                    2
            Case 2:23-cv-04135-TJS Document 1 Filed 10/26/23 Page 6 of 12




       9.      Removal is proper under 28 U.S.C. § 1332(a) because: (1) there is complete

diversity between Plaintiffs and Defendants; and (2) the amount in controversy exceeds $75,000,

exclusive of costs and interest.

       10.     In addition, all other requirements for removal are satisfied, as explained below.

                                     BASIS FOR REMOVAL

I.     REMOVAL IS PROPER BECAUSE THIS COURT HAS SUBJECT MATTER
       JURISDICTION UNDER 28 U.S.C. §§ 1332 AND 1441

       A.      The Parties Are Completely Diverse

       11.     Complete diversity exists because Plaintiffs are either Pennsylvania or New Jersey

citizens, and none of the Defendants are either Pennsylvania or New Jersey citizens.

       12.     Plaintiffs bring this action solely in their capacity as “Administrators of the Estate

of Sarah Katz, Deceased.” (Exhibit A, Compl. ¶ 3).

       13.     For purposes of diversity jurisdiction, “the legal representatives of the estate of a

decedent shall be deemed to be a citizen only of the same State as the decedent” at the time of the

decedent’s death. 28 U.S.C. § 1332(c)(2); Ramsey v. Devereux Found., No. 16-299, 2016 U.S. Dist.

LEXIS 95706, at *7 (E.D. Pa. July 22, 2016) (“For diversity purposes, where the plaintiff is the

representative of the estate of a decedent, the plaintiff is deemed to acquire the citizenship of the

decedent at the time of the decedent's death.”).

       14.     Upon information and belief, at the time of her death, the Decedent was a resident

of Pennsylvania where she had been living as a college student at the University of Pennsylvania

for several years; her parents were residents and citizens of New Jersey, where the Decedent grew

up and lived before she attended college. (Compl. ¶¶ 1-2). Accordingly, Plaintiffs’ domicile is

either New Jersey or Pennsylvania. McCarthy v. Jauregui, No. 3:21-CV-1759, 2023 U.S. Dist.

LEXIS 97285, at *18 (M.D. Pa. June 2, 2023) (“It is generally presumed that a student who attends



                                                   3
            Case 2:23-cv-04135-TJS Document 1 Filed 10/26/23 Page 7 of 12




a university in a state other than the student's ‘home’ state intends to return ‘home’ upon

completion of studies.”). Therefore, Plaintiffs, as the legal representatives of the estate of the

Decedent, are citizens of either Pennsylvania or New Jersey for purposes of diversity jurisdiction.

       15.     Defendant Panera Bread Company (PBC) is a corporation and Defendant Panera,

LLC (PLLC) is a limited liability company.

       16.     A corporation is a citizen of both the state where it is incorporated and the state

where its principal place of business is located. 28 U.S.C. § 1332(c)(1); Zambelli Fireworks Mfg.

Co. v. Wood, 592 F.3d 412, 419 (3d Cir. 2010).

       17.     Defendant Panera Bread Company (PBC) is now, and was at the time of filing of

the Complaint, a Delaware corporation with its principal place of business in Missouri.

Accordingly, PBC is a citizen of Delaware and Missouri for diversity jurisdiction purposes.

       18.     For purposes of diversity jurisdiction, “the citizenship of an LLC is determined by

the citizenship of each of its members.” Zambelli Fireworks, 592 F.3d at 418.

       19.     Defendant Panera, LLC is now, and was at the time of filing of the Complaint, a

single-member limited liability company, with Panera Bread Company (PBC) as its sole member.

PBC is now, and was at the time of filing of the Complaint, a Delaware corporation with its

principal place of business in Missouri. Accordingly, PLLC is a citizen of Delaware and Missouri

for diversity jurisdiction purposes.

       20.     Accordingly, Plaintiffs are either citizens of Pennsylvania or New Jersey, and

Defendants are citizens of Delaware and Missouri for diversity jurisdiction purposes.

       B.      The Amount-in-Controversy Is Satisfied

       21.     The $75,000 amount-in-controversy requirement is also satisfied.




                                                 4
          Case 2:23-cv-04135-TJS Document 1 Filed 10/26/23 Page 8 of 12




       22.     A federal district court has “original jurisdiction of all civil actions where the matter

in controversy exceeds the sum or value of $ 75,000, exclusive of interests and costs.” Meltzer v.

Cont’l Ins. Co., 163 F. Supp. 2d 523, 525 (E.D. Pa. 2001) (citing 28 U.S.C. § 1332(a)(1)).

       23.     Pursuant to § 1446(a), a defendant seeking to remove a case must include in its

notice of removal “a short and plain statement of the grounds for removal.” The United States

Supreme Court has held that to satisfy the “short and plain statement” requirement, the removal

notice must allege the amount in controversy “plausibly” but “need not contain evidentiary

submissions” to support the allegation. Dart Cherokee Basin Operating Co. v. Owens, 135 S. Ct.

547, 551, 553 (2014) (quoting Ellenburg v. Spartan Motors Chassis Inc., 519 F.3d 192 (4th Cir.

2008)). The general federal rule is that the amount in controversy is determined by the complaint

itself. See Horton v. Liberty Mut. Ins. Co., 367 U.S. 348, 353 (1961); Angus v. Shiley, Inc., 989

F.2d 142, 145 (3d Cir. 1993); Hocker v. Kurfeld, No. 15-04262, 2015 WL 8007463, at *2 (E.D.

Pa. Dec. 7, 2015). “When a complaint does not limit its request to a precise monetary amount, the

court must independently appraise the claim’s value to determine if it satisfies the amount in

controversy requirement.” Hocker, 2015 WL 8007463 at *2 (citing Angus, 989 F.2d at 146).

       24.     Although the Defendants deny any liability for Plaintiffs’ alleged damages, the

amount in controversy here exceeds $75,000.

       25.     Plaintiffs allege that Plaintiffs’ and their Decedent’s damages include: “untimely

death at 21 years old; cardiac arrythmias; cardiac arrest; hypoxia; pain and suffering; loss of

enjoyment of life and life’s pleasures; emotional distress; disfigurement; embarrassment; future

lost wages; loss of future earning capacity; funeral expenses; medical expenses; all damages

recoverable under the Survival Act; all damages recoverable under the Wrongful Death Act; and

all damages … permitted by Pennsylvania law.” (Compl. ¶ 78) Plaintiffs further characterize




                                                  5
          Case 2:23-cv-04135-TJS Document 1 Filed 10/26/23 Page 9 of 12




Decedent’s alleged injuries as “severe,” “permanent,” and “catastrophic.” (Compl. ¶¶ 77, 93)

Plaintiffs seek both compensatory and punitive damages. (Compl. ¶¶ 98, 110, 121, 129, 133, 136)

       26.     Based on these allegations and alleged damages, including the death of Decedent,

the amount in controversy plainly exceeds the $75,000 jurisdictional threshold. See, e.g., Hocker,

2015 WL 8007463, at *2 (finding amount in controversy exceeded $75,000 where the complaint

alleged serious medical injuries and medical costs); Bakali v. Jones, Civil Action No. 17-1162,

2018 U.S. Dist. LEXIS 102942, at *3 (W.D. Pa. June 20, 2018) (finding the amount in controversy

based on the death of the decedent exceeded the $75,000 jurisdictional threshold); see also, Angus

v. Shiley, Inc., 989 F.2d 142, 145–46 (3d Cir. 1993) (affirming denial of remand where plaintiff

claimed emotional injuries only from allegedly defective medical device, because the complaint

sought “at least” $40,000 in damages and plaintiff claimed to have suffered anxiety and other

emotional ailments).

       27.     Courts in this District and around the country routinely hold that cases involving

alleged “serious and permanent” physical injuries, just like those alleged here, satisfy the amount-

in-controversy requirement. See, e.g., Brent v. First Student, Inc., 2020 U.S. Dist. LEXIS 88551,

*6–7, 2020 WL 2570355 (E.D. Pa. May 20, 2020) (“Allegations of serious and permanent physical

injuries resulting in ‘loss of earnings and impairment of earning capacity and medical costs’ are

sufficient to establish that the jurisdictional minimum is met.”); Toan Nyugen v. Titus, 2007 U.S.

Dist. LEXIS 63731, *10, 2007 WL 2461815 (E.D. Pa. Aug. 29, 2007) (holding that the amount-

in-controversy requirement was satisfied because a jury, if it found liability “would not be

unreasonable in awarding Plaintiff damages exceeding $75,000 if it credited Plaintiff’s claims of

physical injury and the resulting pain and anguish that has plagued him for the last two-and-a-half

years as a result of the accident”); see also Garcia v. Owens-Brockway Glass Container Inc., No.




                                                 6
         Case 2:23-cv-04135-TJS Document 1 Filed 10/26/23 Page 10 of 12




LA CV16-01889 JAK (RAOx), 2016 WL 9275451, at *3 (C.D. Cal. June 30, 2016) (complaint

seeking compensatory damages and damages for pain and suffering related to “severe injuries” is

sufficient to demonstrate amount in controversy greater than $75,000) (collecting cases).

       28.     Because there is complete diversity of citizenship and the amount-in-controversy

requirement is satisfied, this Court has jurisdiction.

II.    ALL OTHER REMOVAL REQUIREMENTS ARE SATISFIED.

       A.      This Notice of Removal Is Timely.

       25.     This Notice of Removal is timely under 28 U.S.C. § 1446(b) because none of the

Defendants has yet been served. See 28 U.S.C. § 1446(b)(1)–(2).

       B.      Consent to Removal

       26.     Because none of the Defendants has been properly served, 28 U.S.C. §

1446(b)(2)(A) (“all defendants who have been properly joined and served must join in or consent

to the removal of the action”) is not yet implicated. Nonetheless, PBC and PLLC are jointly filing

this Notice of Removal.

       27.     None of the Defendants is a citizen of Pennsylvania for purposes of diversity

jurisdiction, therefore removal is not barred by the presence of a properly served and joined forum

defendant. 28 U.S.C. § 1441(b); Encompass Ins. Co. v. Stone Mansion Restaurant, Inc., 902 F.3d

147 (3rd Cir. 2018).

       C.      Notice of Removal to Plaintiff

       28.     Pursuant to 28 U.S.C. § 1446(d), upon filing of this Notice of Removal, PBC and

PLLC will furnish written notice to Plaintiffs’ counsel and will file a copy of this Notice with the

Prothonotary of the Court of Common Pleas for Philadelphia County, Pennsylvania.

       29.     By filing this Notice of Removal, PBC and PLLC do not waive any defenses

available to them and expressly reserve all such defenses.


                                                  7
         Case 2:23-cv-04135-TJS Document 1 Filed 10/26/23 Page 11 of 12




       D.     The State Court File Is Attached

       30.    Pursuant to 28 U.S.C. § 1446(a), no process, pleadings, or orders have been served

upon any Defendants. A copy of the Complaint is attached as Exhibit A. A copy of the state court

docket as of October 26, 2023 is attached as Exhibit B.

       WHEREFORE, PBC and PLLC respectfully give notice that the above-entitled action is

removed from the Court of Common Pleas for Philadelphia County, Pennsylvania to the United

States District Court for the Eastern District of Pennsylvania pursuant to 28 U.S.C. §§ 118(b),

1332, 1441, and 1446.

                                                   GREENBERG TRAURIG LLP

 Dated: October 26, 2023                            /s/ Gregory T. Sturges
                                                   Gregory T. Sturges, Esq.
                                                   1717 Arch Street, Suite 400
                                                   Philadelphia, PA 19103
                                                   T 215.988.7820
                                                   sturgesg@gtlaw.com

                                                   Lori G. Cohen, Esq. (pro hac vice to be filed)
                                                   Sara K. Thompson, Esq. (pro hac vice to be filed)
                                                   Marcella L. Ducca, Esq. (pro hac vice to be filed)
                                                   3333 Piedmont Road, Suite 2500
                                                   Atlanta, GA 30305
                                                   T 678.553.2385
                                                   cohenl@gtlaw.com
                                                   sarah.thompson@gtlaw.com
                                                   duccam@gtlaw.com

                                                   Attorneys for Panera Bread Company and
                                                   Panera, LLC




                                               8
         Case 2:23-cv-04135-TJS Document 1 Filed 10/26/23 Page 12 of 12




                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on October 26, 2023, I caused a true and correct copy of

NOTICE OF REMOVAL, via CM/ECF system that will serve attorneys of record upon filing,

and electronic mail, upon Plaintiff’s attorney of record at the following virtual addresses:

                                       Thomas Kline, Esq.
                                    Elizabeth Crawford, Esq.
                                    Michelle Paznokas, Esq.
                                       Kline & Specter, P.C.
                                  1525 Locust Street, 19th Floor
                                     Philadelphia, PA 19102
                                 thomas.kline@klinespecter.com
                              elizabeth.crawford@klinespecter.com
                              michelle.paznokas@klinespecter.com




                                                      /s/ Gregory T. Sturges
                                                      Gregory T. Sturges, Esq.
